                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :       Case No:
                                             :
               v.                            :
                                             :       VIOLATIONS:
                                             :
THOMAS EDWARD CALDWELL,                      :       18 U.S.C. § 371
                                             :       (Conspiracy)
                                             :
               Defendant.                    :       18 U.S.C. § 1752(a)
                                             :       (Restricted Building or Grounds)
                                             :
                                             :       18 U.S.C. § 1512(c)(2)
                                             :       (Obstruction of an Official Proceeding)
                                             :
                                             :       40 U.S.C. § 5104(e)(2)
                                             :       (Violent Entry or Disorderly Conduct)
                                             :

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Michael M. Palian Jr., being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging THOMAS

EDWARD CALDWELL (“CALDWELL”) with violations of 18 U.S.C. §§ 2, 371, 1752(a),

1512(c)(2), and 40 U.S.C. § 5104(e)(2).

       2.      I respectfully submit that this Affidavit establishes probable cause to believe that

CALDWELL (1) knowingly and willfully entered into a conspiracy to violate 18 U.S.C. §§

1512(c)(2), 1752(a), and 40 U.S.C. § 5104(e)(2), in violation of 18 U.S.C. § 371; (2) did enter or

remain in any restricted building or grounds without lawful authority, or did knowingly, and with

intent to impede or disrupt the orderly conduct of Government business or official functions, engage


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in disorderly or disruptive conduct, in violation of 18 U.S.C. § 1752(a); (3) corruptly did obstruct,

influence, or impede any proceeding before the Congress, in violation of 18 U.S.C. § 1512(c)(2); (4)

did willfully and knowingly engage in disorderly or disruptive conduct, at any place in the Grounds

or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly conduct

of a session of Congress or either House of Congress, or the orderly conduct in that building of any

deliberations of either House of Congress, in violation of 18 U.S.C. § 5104(e)(2); and (5) were

aiding and abetting the commission of these offenses against the United States, in violation of 18

U.S.C. § 2.

                                BACKGROUND OF AFFIANT

       3.      I am a Special Agent with the FBI and have been so employed since February 2003.

As a Special Agent with the FBI, I am empowered by law to conduct investigations, make arrests,

and execute and serve search and arrest warrants for offenses enumerated in Title 21 and Title 18

of the United States Code. I have a Ph.D in bio-organic chemistry, and have also received training

and gained experience in a variety of criminal laws and procedures, including those involving drug

distribution, white collar crime and crimes of violence. Through my training, education and

experience, I have become familiar with the manner in which criminal activity is carried out, and

the efforts of persons involved in such activity to avoid detection by law enforcement.

       4.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause to support an application for an arrest warrant, it does not contain every fact known

by me or the United States. The dates listed in this Affidavit should be read as “on or about” dates.



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                                        BACKGROUND

                        Incursion at the U.S. Capitol on January 6, 2021

       5.      The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

       6.      On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members of

the public.

       7.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30

p.m., the House and Senate adjourned to separate chambers to resolve a particular objection. Vice

President Mike Pence was present and presiding, first in the joint session, and then in the Senate

chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

                                                 3
        9.    At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter or

remain in the building and, prior to entering the building, no members of the crowd submitted to

security screenings or weapons checks by U.S. Capitol Police Officers or other authorized security

officials.

        10.    At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including

by breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

        11.   Shortly thereafter, at approximately 2:20 p.m., members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of

the United States Congress, including the joint session, were effectively suspended until shortly

after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry

to the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol

without any security screening or weapons check, Congressional proceedings could not resume

until after every unauthorized occupant had left the U.S. Capitol, and the building had been

confirmed secured. The proceedings resumed at approximately 8:00 pm after the building had been

secured. Vice President Pence remained in the United States Capitol from the time he was

evacuated from the Senate Chamber until the session resumed.

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       12.     During national news coverage of the aforementioned events, video footage which

appeared to be captured on mobile devices of persons present on the scene depicted evidence of

violations of local and federal law, including scores of individuals inside the U.S. Capitol building

without authority to be there.

                                         The Oath Keepers

       13.     Law enforcement and news media organizations observed that members of a

paramilitary organization known as the Oath Keepers were among the individuals and groups who

knowingly, willfully, and forcibly entered the U.S. Capitol.

       14.     The Oath Keepers are a large but loosely organized collection of militia who believe

that the federal government has been coopted by a shadowy conspiracy that is trying to strip

American citizens of their rights. Though the Oath Keepers will accept anyone as members, what

differentiates them from other anti-government groups is their explicit focus on recruiting current

and former military, law enforcement and first responder personnel. The organization’s name

alludes to the oath sworn by members of the military and police to defend the Constitution “from

all enemies, foreign and domestic.”

                                         Thomas Caldwell

       15.     THOMAS CALDWELL is a 65-year-old resident of Clarke County, Virginia.

Based on communications between CALDWELL and other known and unknown Oath Keepers

members, CALDWELL appears to have a leadership role within Oath Keepers.

               STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       16.     I have reviewed footage of the January 6, 2021, incursion of the U.S. Capitol,

including a video that, at the approximate 3 minute and 8 second mark, shows 8 to 10 individuals


                                                 5
in paramilitary equipment aggressively approaching an entrance to the Capitol building.1 These

individuals, who are wearing helmets, reinforced vests, and clothing with Oath Keeper

paraphernalia, move in an organized and practiced fashion and force their way to the front of the

crowd gathered around a door to the U.S. Capitol.

                                          PICTURE 1:




       17.    A close-up view of the badges on the vest of one of these individuals, seen just under

the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.”

                                          PICTURE 2:




1
 https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be (last viewed January 14,
2021)
                                                6
       18.     Based on the foregoing observations of the video, and information gained in the

course of my investigation, I believe the organized group of individuals marching to door of the

U.S. Capitol in the video above are members of the Oath Keepers.

                                         Jessica Watkins

       19.     At the approximate 3 hour and 20 second mark, the video shows the uncovered face

of an individual in the group of Oath Keepers.

                                           PICTURE 3:




       20.     I have identified this individual to be JESSICA WATKINS (“WATKINS”) by

comparing the footage in the video above to WATKINS’s DMV photograph and other photographs

of WATKINS. WATKINS is a 38-year-old resident of Champaign County, Ohio, WATKINS

appears to be affiliated with the Oath Keepers. At the top of WATKINS’ social media account

page on Parler, WATKINS states that she is “C.O. [Commanding Officer] of the Ohio State Regular

Militia.” Based on information gained during the course of my investigation, I am aware that the

Ohio State Regular Militia is a local militia organization which is a dues-paying subset of the Oath

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Keepers.

       21.      In addition, in various social media posts, WATKINS has confirmed that on January

6, 2021, she entered the U.S. Capitol by force.

       22.      For instance, on January 6, Watkins posted to Parler a photograph of herself in the

same Oath Keepers uniform in which she appears in Picture 3, alongside the statement: “Me before

forcing entry into the Capitol Building. #stopthesteal #stormthecapitol #oathkeepers #ohiomilitia.”

I am aware from public reporting after the 2020 U.S. Presidential Election that the social media

hashtag #stopthesteal was used by people who believed, essentially, that the election results were

influenced by fraud, and who wanted to stop the electoral college results from being certified by

the Congress.

                                           PICTURE 4:




       23.      Also on Parler, on January 6, WATKINS posted another video from that day and

wrote, “Yeah. We stormed the Capitol today. Teargassed, the whole, 9. Pushed our way into the

                                                  8
Rotunda. Made it into the Senate even. The news is lying (even Fox) about the Historical Events

we created today.”

                                           PICTURE 5




       24.     In another Parler post, WATKINS responded to a comment challenging whether she

actually forced entry by confirming, “Nope. Forced. Like Rugby. We entered through the back door

of the Capitol.”

                                         PICTURE 6




                                               9
                                        Donovon Crowl

       25.    WATKINS also confirmed on social media that she had led other members of the

Oath Keepers in the incursion at the U.S. Capitol. In another Parler post on January 6, WATKINS

shared a picture of an individual in paramilitary gear, wearing an Oath Keeper patch on his arm,

and wrote, “One of my guys at the Stop the Steal Rally today. #stopthesteal #stormthecapitol

#oathkeepers #ohiomilitia.”

                                         PICTURE 7:




       26.    Your affiant submits that WATKINS’ own description of her conduct—including

that she “stormed” the Capitol and “pushed” her way into the Rotunda—as well as her use of the

hashtags “#stopthesteal” and “#stormthecapitol” demonstrate WATKINS’, as well as other known

and unknown Oath Keeper conspirators’, intent to forcibly enter the U.S. Capitol to obstruct the

proceedings there.

       27.    Among WATKINS known conspirators is the individual depicted in Picture 7,


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whom I have identified to be DONOVAN CROWL (“CROWL”). I have been able to confirm these

identifications of CROWL by comparing pictures from that day at the U.S. Capitol to pictures of

CROWL from DMV records and the Ohio State Regular Militia Parler2 page.

       28.     On January 14, 2021, an interview with CROWL was published in the New Yorker

entitled, A Former Marine Stormed the Capitol as Part of a Far-Right Militia.3 The article notes

that CROWL was photographed in the Capitol Rotunda on January 6 and references him as the

individual depicted in the video screenshot in Picture 8 below:

                                           Picture 8:




       29.     I have also reviewed photographs taken from inside of the Capitol Rotunda on

January 6, including one from the above referenced New Yorker article that identifies CROWL as

the individual wearing dark glasses with other Oath Keepers members (red circle). In this

photograph, depicted below in Picture 9, a green reinforced vest with the “Trapper” label on the



       3
         https://www.newyorker.com/news/news-desk/a-former-marine-stormed-the-capitol-as-
part-of-a-far-right-militia (last accessed, January 16, 2021).
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lower left side is partially visible (yellow circle). This same “Trapper” label is visible in the same

location in the photograph of CROWL referenced above in Picture 7.

                                             Picture 9:




       30.     Furthermore, CROWL gave an interview in the above referenced New Yorker article

in which he identified himself as a member of both the Oath Keepers and the Ohio State Regular

Militia, and admitted that he attended events representing those groups to include the incursion of

the U.S. Capitol on January 6, 2021. CROWL stated that he was drinking on January 6, 2021, and

confirmed to the writer that he entered the U.S. Capitol, saying that he went to Washington, D.C.,

to “do security” for “V.I.P.s” whom he declined to name. CROWL also stated to the writer that his

intentions had been peaceful, and that he had never been violent, claiming “we protected the fucking

Capitol Hill police.” He declined to substantiate the claim during the interview. CROWL at the

same time admitted during this interview that he “expelled three fucking people” whom he said had
                                                12
been injured. He further elaborated about “patriots [who] dragged this fucking maggot off the wall

and started beating his ass.”

          31.    During the course of this investigation, law-enforcement authorities spoke with

Witness-1 (W-1). W-1 informed that although WATKINS returned to Ohio after the January 6,

2021 incursion, she subsequently left Ohio on or about January 14, 2021, to stay with a friend and

fellow Oath Keeper whom W-1 knew as “Tom” or “Commander Tom.” As described below, your

affiant believes this individual is CALDWELL. WATKINS also provided W-1 with instructions on

how to contact her, including by providing a phone number at the location where she would be

staying, 540-303-3957. A database check for this phone number reveals that it is a phone on

CALDWELL’s property, the PREMISES.

                     Caldwell Planning and Involvement in the U.S. Capitol Siege

          32.    Records obtained from Facebook indicate that CALDWELL was involved in

planning and coordinating the January 6 breach of the U.S. Capitol in which WATKINS, CROWL,

and other Oath Keeper militia members participated.

          33.    Specifically, on January 1, 2021, at approximately 1:10 p.m., CALDWELL sent the

following message from his Facebook account:

          “Here is the direct number for Comfort Inn Ballston/Arlington 1-571-397-3955 I
          strongly recommend you guys get one or two rooms for a night or two. Arrive 5th,
          depart 7th will work. She says there are five of you including a husband and wife
          new recruits. This time of year especially you will need to be indoors to set up, etc.
          Really, press this home, just get somebody to put it on a credit card. Even if you tell
          the hotel its double occupancy, you can STILL put a couple of people on the floor
          with bedrolls and the hotel won’t know shit. Paul said he might be able to take one
          or two in his room as well. I spoke to the hotel last night (actually 2 a.m. this
          morning) and they still had rooms. This is a good location and would allow us to
          hunt at night if we wanted to. I don’t know if Stewie4 has even gotten out his call to


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    Based on the context of this conversation, your Affiant believes that the reference to “Stewie” is
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       arms but it’s a little friggin late. This is one we are doing on our own. We will link
       up with the north carolina [sic] crew.”
       34.    Information obtained from the Comfort Inn establishes that a hotel room was rented

from January 5, 2021 to January 7, 2021, under the name “JESSICA WAGKINS.”

       35.    On January 1, 2021, at approximately 7:37 p.m., CROWL sent a message from his

Facebook account to CALDWELL stating, “Happy New year, to you Sir!! Guess I’ll be seeing you

soon. Will probably call you tomorrow…mainly because…I like to know wtf plan is. You are the

man Commander.”

       36.    On January 6, 2021, at approximately 7:47 p.m., CALDWELL transmitted a

Facebook message of a video that appears to have been taken from inside of the U.S. Capitol. A

screenshot from the video is below:

                                            Picture 10:




       37.    That same day, at approximately 7:49 p.m., CALDWELL sent a Facebook message

stating, “Us storming the castle. Please share. Sharon was right with me! I am such an instigator!

She was ready for it man! Didn’t even mind the tear gas.” Two minutes later, CALDWELL sent a


to Elmer Stewart Rhodes, who is known as the leader of the Oath Keepers.
                                              14
message noting, “Proud boys scuffled with cops and drove them inside to hide. Breached the doors.

One guy made it all the way to the house floor, another to Pelosi’s office. A good time.” Less than

a minute later, he sent a message directing that, “We need to do this at the local level. Lets [sic]

storm the capitol in Ohio. Tell me when!”

                                CONCLUSIONS OF AFFIANT

       38.     Based on the foregoing, your affiant submits that there is probable cause to believe

that CALDWELL violated 18 U.S.C. § 371, by knowingly and willfully conspiring with persons

known and unknown to violate 18 U.S.C. §§ 1752(a), 1512(c)(2), 40 U.S.C. § 5104(e)(2), and that

they committed each of the forgoing substantive offenses, along with 18 U.S.C. § 2.

       39.     As such, I respectfully request that the court issue an arrest warrant for

CALDWELL. The statements above are true and accurate to the best of my knowledge and belief.


                                             _________________________________
                                             SPECIAL AGENT MICHAEL M. PALIAN JR.
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of January, 2021.
                                              Robin M.        Digitally signed by Robin M.
                                                              Meriweather

                                              Meriweather Date:     2021.01.17 15:45:43
                                             ___________________________________
                                                              -05'00'
                                             ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE




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